~.

Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25

“? * QVlevi4y7yY

EXHIBIT B

Page 1 of 21
Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 2 of 21

IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY
PENNSYLVANIA

CIVIL DIVISION

wk ok RK KK KR KK KK K KR RK KE

No. 08-02157

793/) 035

GN

*
*
LUCILLE FREEMAN *
*

vs. *

*

JONATHAN ROBINS *
*

KKK RE RK KK RK Kk KK KK RK RK OK

Media, PA, December 31, 2008 oO

K*kK* -—

NNN Se ee Ree eee
DSESUVAIDMAWNKDOWAADNAWH

Courtroom Number C

23 kK
24 TRANSCRIPT OF PROCEEDINGS
25 .
26 BEFORE: THE HONORABLE MASTER PATRICIA DONNELLY
27
28 MARY TULL, ESQUIRE
29 For the Plaintiff
30.
- 3] PRO SE
32 For the Defendant
33

Diaz Data Services
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664
Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 3 of 21

J . INDEX
2
3 DIRECT CROSS REDIRECT RECROSS
4
5 ON BEHALF OF THE PLAINTIFF:
6
7 [none]
8
9 ON BEHALF OF THE DEFENDANT:
10
11 [none]
12 EXHIBITS
13
14 , MARKED ADMITTED
15 ON BEHALF OF THE PLAINTIFF:
16
17 [none]
18
a 19 ON BEHALF OF THE DEFENDANT:
20
21 [none]
22
23

Diaz Data Services
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664

Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page4of21

- 3
1 PROCEEDINGS
2 December 31, 2008
3
A MS. TULL:
5 Case 15, Lucille Freeman vs. Johnathan Robins.
6 Plaintiff’s grandmother, she’s not here. She
7 has no interest in this case. Defendant, Sir,
8 go to the side of the courtroom. state your
9 name to identify your voice for the .record.
10 MR. ROBINS:
11 My name is Johnathan Robins.

12 MS. TULL:
13 ' zt couldn’t run guidelines because the
14 Defendant told me he was an independent
15 contractor. He wouldn’t tell me what he did.
16 He wouldn’t tell me what he made. Sol
17 couldn’t run guidelines.
18 THE COURT:
19 What do you do?
20 MR. ROBINS:
21 I do all kinds of work. The reason why,
22 right, I really wanted to come to Court is
23 that I’m pissed off because I take care of the
24 child half the time and I, like I told her
25 outside in the hallway, I haven’t had the

Diaz Data Services
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664

° Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 5 of 21 - |

4
1 time, I don’t have a lot of time to work. And
2 what I don’t understand is why my son on
3 welfare. Why does the grandmother ~-- you

know, I filed -- recently I filed for full

5 custody and so in February we’re going to get
6 all this straightened out and custody in
“7 Philadelphia Court. So I’m pissed off that
8 the mother -- because l...
9 THE COURT:
10 Well, you’re in a Court of law. I’11 caution
11 you to watch your language.
7 12 MR. ROBINS:
13 Oh, I’m sorry. I’m sorry. I didn’t -- yeah,
14 correct.
15 MS. TULL:
16 | It’s a ten month old child. How old is the
17 mother of the child? .
18 MR. ROBINS:
19 Well, the mother is my wife.
20 MS. TULL:
| 21 How old is she?
22 MR. ROBINS:
23 She’s 16.
24 MS. TULL:
25 How old is she?

Diaz Data Services
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664

Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 6 of 21

1 MR. ROBINS:
2 16.
3 MS. TULL:
4 16. That’s why the grandmother is on -- has a
5 welfare grant for the child.
6 MR. ROBINS:
7 But if they’re -- but if we’re married ~~ and
8 - I'll give you the paperwork now.
9 MS. TULL:
10 And...
- 11 THE COURT:

12 How old are you?

. 13 MR. ROBINS:

Gf 14 That’s a good question. 40 what...
15 MS. TULL:
16 Sounds like a crime to me.
17 THE COURT:
18 40 what?
19 MR. ROBINS:
20 . Like 43.
21 THE COURT:
22 | You’re 43 and the mother...
23 MR. ROBINS:
24 Yes, I am.
25 THE COURT:

Diaz Data-Services
4 331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664
| / : Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 7 of 21

6
1 ...of the child is 16?
2 MR. ROBINS:
3 Here is...
4 THE COURT:
5 Have you been arrested?
6 MR. ROBINS:
7 . No.
8 THE COURT:
9 This child’s ten months old?
10 MS. TULL:
11 Ten months old.
. 12 THE COURT:
13 So this girl was 14 when she got pregnant?
14 MS. TULL:
15 Or 15, you know, 14 or 15.
16 COURT CLERK:
17 I gave it to her, the paystub.
18 MS. TULL:
19 The paystub, yeah.
20 COURT CLERK:
21 Oh, yeah it’s right here.
22 MS. TULL:
23 I had it for Plaintiff and for hin.
24 COURT CLERK:
25 His wasn’t attached to it, that’s why I: didn’t

Diaz Data Services .
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664

Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 8 of 21°

MS.

THE

MR.

THE

THE

MR.

. THE

MR.

MS.

see it.
TULL:
Been on welfare from September 16, ‘08 with
grand mom.
COURT:
Johnathan Robins of Orlando, Florida and Erika
Johnson of South Carolina were married in
Missouri...
ROBINS:
Yes.
COURT:
...danuary 16 of ‘08.
. ROBINS:
The child is the child of the marriage. So
the child, regardless if he’s my biological
child or not, he’s the child of marriage.
COURT:
He’s not your biological child?
ROBINS:
I’m not going to answer that at this time.
COURT:
Well, is there a challenge to paternity?
ROBINS:
No.
TULL:

- Diaz Data Services
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664
Ne . Case 3:21-cv-01474-MEM-SH Document 60-1 — Filed 05/02/25

. Page 9 of 21
1 No, he acknowledged paternity.
2 MR. ROBINS:
3 I acknowledged that he is my son through
4 marriage.
5 THE COURT:
6 Well, Mr. Robins, why don’t you tell me what
7 you do as a self-employed individual?
8 MR. ROBINS:
9 Well, when I do have time to work from
10 watching my son, I do all types of work,
1 carpentry, plumbing, electrical, automotive,
12 work on people's...
13 THE COURT:
14 Well, what do you do mostly, carpentry,
15 plumbing, what?
16 MR. ROBINS: .
17 I don’t do anything mostly. I work, you know,
18 there’s no one field that I make basically...
19 THE COURT:
20 All right. Now let’s take him as a carpenter
21 and..
22 MR. ROBINS:
23 Okay.
24 THE COURT:
25 _. attribute an earning capacity to him.

Diaz Data Services .
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664

Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 10 of 21

MR.

THE

THE

THE

THE

MR.

ROBINS:
And...

COURT:
Hourly average wage is $20.99. You're 43.
You've been doing this for a while?

ROBINS:
Yeah, but it’s not -- but like I said, you’re
putting me down as a carpenter. I don’t --
since I do a lot of things I don’t make that

type of money.

COURT:
I know. Well...
. ROBINS:
I know.
COURT:
...you do electrical too. Shall I take you as
an electrician, that’s 29.19?
ROBINS:
But I don’t -- I wish I made that kind of
money. I really do. I don’t...
COURT:
All right. Take him at $20 an hour.
ROBINS:

Okay. Even though I don’t make ~~ I’m putting

it on the record, I do not make that amount of

Diaz Data Services
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-666
Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 11 of 21

THE

THE

MR.

THE

THE

10

money.

COURT:
Okay. But you haven’t -- you didn’t bring any
proof of income...
. ROBINS:
Okay.
COURT:
...and you’re not telling us what you do make
so we've got to use something.
ROBINS:
Okay.
COURT:
So we're going to calculate your income based
upon $20 an hour.
ROBINS:
And I'd like to know, since I take care of him
half the time, what -- why, you know...
COURT:
Do you have any Custody Order?
. ROBINS:

We don’t have a Custody Order yet. I filed
for custody and -- in February because I filed
because I’ve been trying -- I’ve got letters
from the medical center, but I have been

taking care of him...

Diaz Data Services
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664

ie Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 12 of 21

11
1 THE COURT:
2 Yeah. Well...
3 MR. ROBINS:
4 ...-since.
5 THE COURT:
6 .I tell you, if you were taking care of him
7 then Lucille Freeman wouldn’t have him on
8 welfare.
9 MR. ROBINS:
10 Well, yeah, see they have him on welfare so
11 they can sit on their butt-and collect a
12 check. Me and -- myself and the mother takes
13 . care of the child, not Lucille. And Lucille
14 collects the money. Tf -- I mean can we call
15 them and so that they can -- because they
16 really didn’t want to come to Court and answer
17 , some of the boldface lies they’ve been
18 telling. Can we -- is --. because I know their
19 . phone, their home phone number. We can put
20 them on record too.
21 THE COURT:
22 I’m not going to do that...
23 MR. ROBINS:
24 . Okay.
25 THE COURT:

Diaz Data Services
331 Schuylkil Street, Harrisburg, PA 17110 ~ 717-233-6664

Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 13 of 21

12
1 ...but if you don’t -- if you’re dissatisfied
2 with my recommendation and you’d like...
3 MR. ROBINS:
4 I’m going to appeal.
5 “THE COURT:
6 ..to take an appeal.
7 MR. ROBINS:
8 I’m going to appeal.
9 THE COURT:
10 You can...
11 MR. ROBINS:
12 And then I might just sue the county for
13 depriving me of my parental rights and giving
14 it to the grandmother because I can’t put him
15 -- I’ve been trying to put my son on health
16 care and I can’t. They refuse to let me put
17 him on health care because she has him on
18 health care.
19 THE COURT:
20 Do you have a tax return with you?
21 MR. ROBINS:
22 No.
23 THE COURT:
24 Do you pay taxes?
25 MR. ROBINS:

_ Diaz Data Services
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664

Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 14 of 21

THE

MS.

MS.

MR.

THER

MS.

THE

COURT:

TULL:

13

I have not paid -- I paid taxes. No, I didn’t

pay taxes. I got a little return.

Okay.

We can make part of your Order that the

Defendant is to add the child to his medical
insurance. That’s a Court Order. That'll be
enough to get the child added to his medical

insurance.

ROBINS:

TULL:

Yeah, because I’ve got...

Taxpayers shouldn’t be paying for it anyway.

ROBINS:

COURT:

TULL:

COURT:

_..a letter from this -- just to let you know,
I’ve got a -- I got the vaccination where I/1l
be taking...

I’m taking him at 34. He says he doesn’t pay

taxes, so I’1ll take him at 3466.
Okay. I took him at, I think more or less...

Yeah.

Diaz Data Services

331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664
Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 15 of 21

ao nN DN

\o

10
11
12
13
14
15
1
17

18

19
20
21
22
23
24

25 |

MS.
THE
MS.
THE
MS.

THE

THE
MS.

MR.

14

TULL:
...because I took off 20.
COURT:
You took him at less...
TULL:
Yeah.
COURT:
...-because you took off for taxes.
TULL:
Yeah.
COURT:
But he says he doesn’t pay them so it’d be 785
a month.
ROBINS:
And here’s a letter that the benefits director
at the health center wrote up for me saying
that I’ve been trying to get health insurance
since he’s been born and I -- and every single
time I try, you know, he has been on it.
COURT:
What's the effective date you’re seeking?
TULL:
She filed the complaint September 24, ‘08.
ROBINS:

No, but what she did before -- she filed

Diaz Data Services
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664
Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 16 of 21

15
1 before when my wife and my son we were living
2 together, she filed. She had filed before and
3 , my wife and I had to call the worker, M. Ward
4 and tell him no, the child is not living with
5 her. And M. Ward was supposed to take -- this
6 was back in summer and -- because she had
7 filed before. He -- she was -- she had filed
8 a case with him before in the summer and he
9 took her off. Then he allowed her to file
10 again in September. I don’t understand how
11 when he found out that she had fraudulently
12 filed him in the summer that he was -- that
13 she was allowed to file him again.
14 MS. TULL:
15 What happened at the pre-contempt conference
16 they held this morning?
17 . MR. ROBINS:
18 The who? The what?
19 MS. TULL:
20 The conference that was at 11:30 for your non-
21 payment.
22 MR. ROBINS:
23 We didn’t have -- we had a conference? Where?
24 MS. TULL:
25 I don’t know. There was supposed to be a

Diaz Data Services
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664
- Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 17 of 21

16
1 conference at 11:30 today because you haven’t
2 made a payment on this Order. It’s an Interim
3 . Order that was entered.

4 COURT CLERK:

5 He didn’t go.

6. THE COURT:

7 What was the Interim Order amount?

8 MS. TULL:

9 The Interim Order was $137 a month.

10 THE COURT:

11 Okay. Well, this is going to be 765 a month.
12 What’s the child’s name?
13 MR. ROBINS: .

14 Johnathan Robins, Jr.

15. THE COURT:

16 All right. And you spell Johnathan in an odd
17 way, right? Would you spell it for me?
18 MR. ROBINS:

19 J-o-h-n-a-t-h-a-n.

20 THE COURT:

21 J-o-n...

22 MR. ROBINS:

23 J-o-h-n...

24 THE COURT:

25 J-o-h-n...

Diaz Data Services
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664

Loe Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 18 of 21

= 17
] MR. ROBINS:
2 ...t-h-a-n. Last name Robins, R-o-b-i-n-s.
3 THE COURT:
4 We have J-o-h-n-a-t-h-a-n. Is that incorrect?
5 MR. ROBINS:
6 Yeah, J-o-h-n-a-t-h-a-n.
7 THE COURT:
8 Okay. Is there one b in Robins?
9 MR. ROBINS:
10 Yes.
11 THE COURT:
fo, 12 All right. And his date of birth is 2/20/08.
13 I am directing you to pick him up on your
14 medical insurance. That will work as a Court
15 Order so that will require your carrier to
16 pick up the child outside the open enrollment
17 period and should alleviate any issues that
18 you were having about medical insurance.
19 MR. ROBINS:
20 Okay.
21 THE COURT: .
22 . I'll put $76 on for arrears.
23 MR. ROBINS:
24 And the Order you just gave, I -- like I said,
25 I can’t pay it because I don’t work because I

Diaz Data Services
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664

Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 19 of 21

THE

THE

THE

MR.

18

actually take care of my son. So it’s like --
because really that’s why I’m filing for full
custody because they play games. Like last
week, a couple of week -- I picked him up
Monday like I’m supposed to, she like oh, take

him for the whole week. I need a...

COURT:
Okay. It’s 765 a month with $76 a month on
for arrears, a total of 841 a month. You have
20 days from today’s date to appeal.
ROBINS:
Okay.
COURT:
If you want to appeal, you must do so...
ROBINS:
And also on top of that I might as well sue
them and find out how in the world they did
what they did.
COURT:
All right.
-ROBINS:

This boy here has spent more Court time and

money, but they’ re screwing me over.

COURT CLERK:

All right. Mr. Robins, come along with me.

Diaz Data Services
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664

Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 20 of 21

19

1 . wa

2 [End of Proceeding]

Diaz Data Services.
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664
he, Case 3:21-cv-01474-MEM-SH Document 60-1 Filed 05/02/25 Page 21 of 21

20
I CERTIFICATE
2 I, Francis J. Dujmic, hereby certify that the
3 proceedings and evidence are contained fully and
4 accurately on multi-track recording; that the recording
5 was reduced to typewriting by my direction; and that
6 this is a correct transcript of the same.
7
8
9 Francis J. Dujmic, Administrator
10 Court Reporters
il
12 DIAZ DATA SERVICES, hereby certifies that the
13 attached pages represent an accurate transcript of the
14 electronic sound recording of the proceedings in the
15 Court of Common Pleas of Delaware County, Pennsylvania,
16 in the matter of:
17
18
19 LUCILLE FREEMAN
20
21 , vs.
22
3 JOHNATHAN ROBINS
24
25 _ # 08-02157
"26
27
28 BY:
29
30 J an et M Wi | son Di ona en-US ocala
31 , 7 Bale DDSO.0T 59308-0400
32 Janet M. Wilson
33 Transcriber for
34 Diaz Data Services
35
36 The foregoing record of the proceedings upon the
37 hearing of the above cause is hereby approved and
38 directed to be filed.
39
40
A} Judge

Diaz Data Services /
331 Schuylkill Street, Harrisburg, PA 17110 ~ 717-233-6664

